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 7
                          UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9                             WESTERN DIVISION
10

11    JACK WALL and WALL FAMILY
      TRUST,                                          Civil Action No. 2:22-cv-4668
12
                                        Plaintiffs,
13
                           v.                               COMPLAINT FOR
14                                                        DECLARATORY AND
      JOHN AINSWORTH, in his official                   INJUNCTIVE RELIEF FOR
15    capacity as Executive Director of the           VIOLATION OF 42 U.S.C. § 1983
      California Coastal Commission, and
16    DONNE BROWNSEY, in her official
      capacity as Chair of the California
17    Coastal Commission,
18                                   Defendants.
19
                                      INTRODUCTION
20

21          1.     Jack Wall, an individual citizen of California domiciled therein, and the

22   Wall Family Trust (together, “Walls”), a trust created pursuant to the laws thereof,

23   own a residence on an inland tract of Hollister Ranch (“Ranch”), a 14,500-acre

24   working cattle farm in rural Santa Barbara County (“County”).

25          2.     The Ranch has been divided into more than 100 parcels of 100 acres or

26   more, about half of which have been residentially developed on 2-acre building

27   envelopes. Plaintiff Wall Family Trust owns title in fee simple to a lawfully

28
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 1     constructed home on a 102-acre portion of the Ranch that is almost one mile away
 2     from the shoreline.
 3            3.        On November 15, 2018, the County granted the Walls a permit to build
 4     a small family pool and spa next to their home. Several California coastal
 5     commissioners appealed this decision to the California Coastal Commission. On May
 6     9, 2019, the Commission reversed the County decision and denied the permit. The
 7     Walls then petitioned a state court for a writ ordering the Commission to grant their
 8     permit. The California Superior Court granted and denied the writ of mandate in part,
 9     remanding the Walls’ permit application to the Commission for reconsideration. A
10     California appellate court affirmed this decision.
11            4.        On remand, under color of the Coastal Act, the commissioners approved
12     the Walls’ permit on the condition that they pay a $5,000 public beach access in-lieu
13     fee designed to help fund provision of public access at the Ranch.
14            5.        This public beach access in-lieu fee is an unconstitutional condition
15     because there is no reasonable or proportionate connection between public beach
16     access needs or interests and the impact of the Walls’ pool project. Under Ex parte
17     Young, the Walls are entitled to an equitable remedy that prohibits the Defendant
18     state officials from enforcing the in-lieu fee requirement against the Walls, in
19     violation of their constitutional rights.
20                                           THE PARTIES
21            6.        Plaintiff Jack Wall is an individual citizen of the United States, who is
22     domiciled and resides in California. He and members of his household reside part
23     time in a home built on an inland parcel of the Ranch.
24            7.        Plaintiff Wall Family Trust is a trust under the laws of California that
25     owns the parcel and dwelling in fee simple.
26            8.        Defendants are John Ainsworth, in his official capacity as Executive
27     Director of the Commission, and Donne Brownsey, in her official capacity as Chair
28     of the Commission. Mr. Ainsworth has the power and responsibility to enforce
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 1     conditions imposed by the Commission on coastal development permits. Ms.
 2     Brownsey has authority to enforce Coastal Act §§ 30610.3 and 30610.8 and
 3     conditions imposed on development permits pursuant to those provisions.
 4            9.        In their official capacities, Mr. Ainsworth and Ms. Brownsey are subject
 5     to federal lawsuits seeking injunctive relief from actions that violate the U.S.
 6     Constitution. Ex parte Young, 209 U.S. 123 (1908).
 7                                   JURISDICTION AND VENUE
 8            10.       The claims in this action arise under the Fifth Amendment to the U.S.
 9     Constitution, incorporated against the states through the Fourteenth Amendment. The
10     Court has jurisdiction under 42 U.S.C. § 1983 and 28 U.S.C. § 1331. A remedy is
11     sought under the Declaratory Judgment Act, 28 U.S.C. § 2201.
12            11.       Venue is proper in this Court because this action concerns private
13     properties located in Santa Barbara County, California, within the jurisdiction of the
14     United States District Court for the Central District of California, Western Division.
15                                   FACTUAL BACKGROUND
16     A.     The Property’s Character and Plaintiffs’ Pool Permit Application
17            12.       The property at the heart of this dispute lies in the northern part of Santa
18     Barbara County, California, in the private, 14,500-acre Ranch. The Ranch is a
19     working cattle ranch that has been subdivided into parcels of at least 100 acres each.
20     Some of these parcels feature single-family homes and accessory agricultural
21     structures (e.g., barns and stables). The Pacific Ocean lies along the southwestern
22     boundary of the Ranch.
23            13.       The Ranch is accessed by a gated private road. There is no public road
24     within the Ranch.
25            14.       There is currently no public beach area at the Ranch.
26            15.       The Wall property is designated as Hollister Ranch Parcel No. 36 and
27     sits three-quarters of a mile inland from the beach.
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 1            16.       The Wall property has never been used or designated as a public area. It
 2     is not near, or viewable from, any public trail or other publicly accessible area.
 3            17.       A single-family home was built on the Walls’ parcel in approximately
 4     2001. The Walls frequently use the home for personal use and family gatherings.
 5            18.       In 2018, Plaintiffs applied to the County to build a 60-foot by 16-foot
 6     swimming pool, a detached 8-foot by 12-foot in-ground spa, and associated
 7     equipment, with 89 cubic yards of excavated soil moved offsite.
 8            19.       The proposed swimming pool and spa would be located adjacent to the
 9     existing residence, specifically, on its southwestern side. The project does not involve
10     the removal of any trees or native vegetation.
11            20.       The Walls intended to use the pool for family gatherings and time with
12     their grandchildren.
13     B.     County Approval and the Commission’s Appeal
14            21.       On November 15, 2018, the County approved a coastal development
15     permit for the Walls’ swimming pool and spa proposal, finding it consistent with the
16     Coastal Act and its Commission-certified Local Coastal Program.
17            22.       The County did not require a public beach access in-lieu fee.
18            23.       On December 18, 2018, individual commissioners appealed the
19     County’s decision to the whole Commission.
20            24.       At a subsequent de novo public hearing, the Commission denied the
21     permit. The Walls subsequently challenged the denial in state court, filing a petition
22     for writ of administrative mandate and complaint for declaratory relief with the
23     Superior Court of California, County of Santa Barbara (No. 19CV03464).
24            25.       The Superior Court granted in part and denied in part the petition for
25     writ of mandate, and remanded the permit to the Commission for reconsideration.
26            26.       The Walls appealed. On December 16, 2021, a California Court of
27     Appeal affirmed the Superior Court’s decision. In so doing, it found that the Walls
28     had not raised an unconstitutional conditions claim against the Commission’s initial
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 1     permit denial. The controversy was therefore remanded to the Commission for a new
 2     de novo hearing on the Walls’ permit, pursuant to the Superior Court’s affirmed
 3     decision.
 4     C.     The Current, Challenged Permit Decision
 5            27.       Prior to holding a new public hearing on the Walls’ pool permit, the
 6     Commission’s staff issued a report and recommendation. Exhibit 1. The report
 7     advised the Commissioners to approve the Walls’ remanded permit application
 8     subject to two “Special Conditions.” Special Condition No. 1 requires the Walls pay
 9     a $5,000 in-lieu (of public beach access) fee prior to issuance of their permit. The
10     staff report explained that the in-lieu fee is required by Coastal Act §§ 30610.3 and
11     30610.8, as a tool to address and provide public beach access at the Ranch.
12            28.       Cal. Pub. Res. Code § 30610.3 reads, in part:
13                      (e) Every person receiving a coastal development permit or a certificate
                        of exemption for development on any vacant lot within an area
14                      designated pursuant to this section shall, prior to the commencement of
                        construction, pay to the commission, for deposit in the Coastal Access
15                      Account, an “in-lieu” public access fee.
16            29.       Cal.Pub. Res. Code § 30610.8 reads, in part:
17                      (a) The Legislature hereby finds and declares that a dispute exists at the
                        Hollister Ranch in Santa Barbara County with respect to the
18                      implementation of public access policies of this division and that it is in
                        the interest of the state and the property owners at the Hollister Ranch
19                      to resolve this dispute in an expeditious manner. The Legislature further
                        finds and declares that public access should be provided in a timely
20                      manner and that in order to achieve this goal, while permitting property
                        owners to commence construction, the provisions of this section are
21                      necessary to promote the public’s welfare.
22                      (b) For purposes of Section 30610.3 and with respect to the Hollister
                        Ranch public access program, the in-lieu fee shall be five thousand
23                      dollars ($5,000) for each permit. Upon payment by the applicant for a
                        coastal development permit of this in-lieu fee to the State Coastal
24                      Conservancy for use in implementing the public access program, the
                        applicant may immediately commence construction if the other
25                      conditions of the coastal development permit, if any, have been met. No
                        condition may be added to a coastal development permit that was issued
26                      prior to the effective date of this section for any development at the
                        Hollister Ranch.
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 1            30.       Before the Commission convened for a vote, Mr. Wall sent it a letter
 2     objecting to the public beach access in-lieu fee condition on the ground that it was an
 3     “unnecessary, unreasonable and unconstitutional condition” because “[b]uilding the
 4     pool will not affect or harm any existing public access interests or any public beach
 5     access that might exist in the future.” Exhibit 3.
 6            31.       At a public hearing held on June 10, 2022, the Commission approved
 7     Plaintiffs’ permit, subject to the staff-recommended conditions, including Special
 8     Condition No. 1 requiring the Walls to pay a $5,000 public beach access in-lieu fee
 9     prior to issuance of the permit.
10                           DECLARATORY RELIEF ALLEGATIONS
11            32.       Under the Fifth and Fourteenth Amendments to the U.S. Constitution,
12     Plaintiffs have a right to be free from conditions on a development permit that are
13     not directly or proportionately related to the impact of the slated project. Dolan v.
14     City of Tigard, 512 U.S. 374, 389–90 (1994).
15            33.       There is a justiciable controversy as to whether Defendant officials are
16     enforcing the Coastal Act to impose a permit condition on the Walls that bears no
17     reasonable relationship, essential nexus, or proportionality to any public harm caused
18     by the Plaintiffs’ pool and spa project.
19            34.       A declaratory judgment as to whether Defendants may constitutionally
20     and lawfully impose the public beach access in-lieu fee will serve a useful purpose
21     in clarifying and settling the legal relations and obligations between the parties.
22            35.       A declaratory judgment as to whether Defendants may constitutionally
23     and lawfully impose a public beach access in-lieu fee will terminate, and afford relief
24     from, the uncertainty and insecurity giving rise to this controversy.
25                             INJUNCTIVE RELIEF ALLEGATIONS
26            36.       There is a substantial likelihood that Plaintiffs will succeed on their
27     claim that the unlawful enforcement of the Coastal Act to impose the $5,000 public
28     beach access in-lieu fee violates the Unconstitutional Conditions Doctrine.
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 1            37.       Plaintiffs have no adequate remedy at law to address this arbitrary,
 2     unconstitutional, unreasonable, and unlawful enforcement of the Coastal Act.
 3            38.       Plaintiffs will likely suffer irreparable harm absent both preliminary and
 4     permanent injunctions restraining Defendants from enforcing the public beach access
 5     in-lieu fee.
 6            39.       The injury to Plaintiffs, this unconstitutional condition, imposes and
 7     outweighs any harm the injunction might cause the public.
 8            40.       An injunction restraining state officials from unconstitutionally
 9     enforcing the public beach access in-lieu fee as a condition of the Walls’ permit will
10     not impair, but rather enhance, the public interest.
11                                              COUNT I
12                      Violation of Plaintiffs’ Civil Rights (42 U.S.C. § 1983)
                                     Unconstitutional Condition
13

14            41.       Paragraphs 1 through 40 set forth above are realleged and incorporated

15     herein by this reference.

16            42.       The Unconstitutional Conditions Doctrine enforces the constitutional

17     guarantee of just compensation by forbidding government officials from using their

18     permitting power to coerce applicants to donate property (including money) as a

19     condition for receiving a permit, when they would normally have to pay to obtain the

20     subject property interest. See Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S.

21     595 (2013).

22            43.       The Walls’ proposed pool does not impact, impede, or interfere with

23     public beach access at the Ranch. Nor does it harm or interfere with any

24     governmental plans to provide public beach access at the Ranch now or in the future.

25            44.       The public beach access in-lieu fee is not related or connected to the

26     social impact of the Walls’ pool project.

27            45.       The in-lieu access fee is not roughly proportional to the social impact of

28     the Walls’ proposed pool.

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 1            46.       The in-lieu access fee is an unreasonable, invalid, and unconstitutional
 2     condition that violates the Unconstitutional Conditions Doctrine.
 3                                      PRAYER FOR RELIEF
 4            WHEREFORE, Plaintiffs respectfully request that the Court:
 5            47.       Declare the requirement of payment of a $5,000 public beach access in-
 6     lieu fee in Special Condition No. 1 to be an unconstitutional condition;
 7            48.       Preliminarily and permanently enjoin Defendant officials from
 8     enforcing the public beach access in-lieu fee condition against Plaintiffs with respect
 9     to the project in controversy;
10            49.       Any other available relief; and
11            50.       Attorneys’ fees under 42 U.S.C. § 1988.
12

13            Dated: July 8, 2022.
14                                                Respectfully submitted,

15                                                s/ J. David Breemer
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